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 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   United States of America,                               No. 2:20-cr-00023-KJM
12                              Plaintiff,                   ORDER
13           v.
14
     Lawrence E. Macken,
15
                                Defendant.
16

17          On March 20, 2024, defendant Lawrence Macken filed a supplement to his motion for

18   compassionate release, see Suppl., ECF No. 206, and a notice of request to seal documents

19   pursuant to Local Rules 140 and 141, see Notice of Req. to Seal, ECF No. 213. Defendant
20   contends the legal basis for the request falls under the Health Insurance Portability and

21   Accountability Act of 1996 (HIPPA) and specific case law. See Notice of Req. to Seal at 2.

22          While there is a strong presumption in favor of maintaining public access to court records,

23   see Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006), this presumption

24   can be overcome in certain circumstances to protect medical privacy. See, e.g., United States v.

25   Morales, No. 16-00241, 2023 WL 6796467, at *1 (E.D. Cal. Oct. 13, 2023) (finding “[t]he

26   subject of these medical records has a strong interest in confidentiality, which, in this case,

27   outweighs the public’s interest in access”); United States v. Smith, No. 20-00253, 2023 WL

28   4305024, at *2 (E.D. Cal. June 30, 2023) (granting defendant’s request to file under seal private

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 1   medical information to support her motion for early release under 18 U.S.C. § 3582(c)(1)(A)(i));

 2   Chester v. King, No. 16-01257, 2019 WL 5420213, at *2 (E.D. Cal. Oct. 23, 2019) (collecting

 3   cases). The court has reviewed the documents submitted as Exhibit B and finds they contain

 4   sensitive and private medical information. Accordingly, for the reasons stated in defendant’s

 5   request and because there is no practical way to redact the documents, the court grants

 6   defendant’s request and directs the Clerk of Court to file Exhibit B under seal. It is further

 7   ordered that access to the sealed documents shall be limited to defendant and the government.

 8          This order resolves ECF No. 213.

 9          IT IS SO ORDERED.

10   DATED: April 2, 2024.

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